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                                       UNITED STATES BANKRUPTCY COURT
                                                Region 3 DISTRICT OF New Jersey



In Re. HMOB of Miramar Owner, LLC                                   §                   Case No. 20-12543
                                                                    §
                                                                    §                   Lead Case No. 20-12465
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                    Chapter 11

Reporting Period Ended: 06/30/2021                                                        Petition Date: 02/14/2020

Months Pending: 17                                                                        Industry Classification:    6     2   1     3

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Anthony Sodono, III                                                      Anthony Sodono, III
Signature of Responsible Party                                               Printed Name of Responsible Party
08/24/2021
Date
                                                                             MSB - 75 Livingston Avenue, Roseland, NJ 07068
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name HMOB of Miramar Owner, LLC                                                          Case No. 20-12543


Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $0
b.   Total receipts (net of transfers between accounts)                                              $0                 $0
c.   Total disbursements (net of transfers between accounts)                                         $0                 $0
d.   Cash balance end of month (a+b-c)                                                               $0
e.   Disbursements made by third party for the benefit of the estate                                 $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                         $0                 $0
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                 $0
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                            $0
e.   Total assets                                                                          $3,529,544
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                             $69,604,967
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                        $0
n.   Total liabilities (debt) (j+k+l+m)                                                   $69,604,967
o.   Ending equity/net worth (e-n)                                                        $-66,075,423

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0                 $0

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                              $0
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                             $0
f.   Other expenses                                                                                  $0
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                                   $0                 $0


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Debtor's Name HMOB of Miramar Owner, LLC                                                                        Case No. 20-12543

Part 5: Professional Fees and Expenses

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
a.       Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0              $0               $0               $0
         Itemized Breakdown by Firm
               Firm Name                           Role
         i     McManimon Scotland & Baum Lead Counsel                                        $0              $0               $0               $0
         ii    EisnerAmper LLP                     Financial Professional                    $0              $0               $0               $0

                                                                                    Approved        Approved       Paid Current       Paid
                                                                                  Current Month    Cumulative         Month         Cumulative
b.       Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

         Itemized Breakdown by Firm
               Firm Name                           Role
         i
         ii
c.       All professional fees and expenses (debtor & committees)

Part 6: Postpetition Taxes                                                                         Current Month              Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                                       $0                          $0
e.   Postpetition property taxes paid                                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)                  Yes        No
b.   Were any payments made outside the ordinary course of business                          Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                                     Yes        No
d.   Are you current on postpetition tax return filings?                                     Yes        No
e.   Are you current on postpetition estimated tax payments?                                 Yes        No
f.   Were all trust fund taxes remitted on a current basis?                                  Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                          Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by                     Yes        No      N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                                Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             Casualty/property insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
                             General liability insurance?                                    Yes        No
                                  If yes, are your premiums current?                         Yes        No      N/A      (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                                 Yes        No


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Debtor's Name HMOB of Miramar Owner, LLC                                                                      Case No. 20-12543


k.      Has a disclosure statement been filed with the court?                             Yes          No
l.      Are you current with quarterly U.S. Trustee fees as                               Yes          No
        set forth under 28 U.S.C. § 1930?

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.


/s/ John H. Hajjar, MD                                                          John H. Hajjar, MD
Signature of Responsible Party                                                  Printed Name of Responsible Party

Sole Member                                                                     08/24/2021
Title                                                                           Date




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                                                                           DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                        Case No. 20-12543
Debtor                                                                                                                        Reporting Period: June 1, 2021 - June 30, 2021



                                           SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
   Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending cash from the prior month or, if this is the
   first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH - ACTUAL" column must
   equal the sum of the four bank account columns. The amounts reported in the "PROJECTED" columns should be taken from the SMALL BUSINESS INITIAL
   REPORT (FORM IR-1) . Attach copies of the bank statements and the cash disbursements journal. The total disbursements listed in the disbursements journal
   must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account. [See MOR-1 (CON'T)]

                                                          BANK ACCOUNTS                         CURRENT MONTH                  CUMULATIVE FILING TO DATE
                                               OPER.      PAYROLL        TAX        OTHER    ACTUAL            PROJECTED             ACTUAL            PROJECTED

   CASH BEGINNING OF MONTH



   RECEIPTS

   CASH SALES

   ACCOUNTS RECEIVABLE

   LOANS AND ADVANCES

   SALE OF ASSETS

   OTHER (ATTACH LIST)

   TRANSFERS (FROM DIP ACCTS)



     TOTAL RECEIPTS



   DISBURSEMENTS

   NET PAYROLL

   PAYROLL TAXES

   SALES, USE, & OTHER TAXES

   INVENTORY PURCHASES

   SECURED/ RENTAL/ LEASES

   INSURANCE

   ADMINISTRATIVE

   SELLING

   OTHER (ATTACH LIST)



   OWNER DRAW *

   TRANSFERS (TO DIP ACCTS)



   PROFESSIONAL FEES

   U.S. TRUSTEE QUARTERLY FEES

   COURT COSTS

   TOTAL DISBURSEMENTS



   NET CASH FLOW

   (RECEIPTS LESS DISBURSEMENTS)




   CASH - END OF MONTH

   * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                                                              THE FOLLOWING SECTION MUST BE COMPLETED
   DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

   TOTAL DISBURSEMENTS                                                                                                                             $

     LESS: TRANSFERS TO DEBTOR IN POSSESSION ACCOUNTS                                                                                              $

     PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow accounts)                                                                $

   TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES                                                                                 $

   Footnote:
   * “HMOB of Miramar Owner, LLC” maintains no separate individual bank accounts.
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                                                                              DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                                             Case No. 20-12543
Debtor                                                                                                                                             Reporting Period: June 1, 2021 - June 30, 2021


                                                                              BANK RECONCILIATIONS
                                                                                Continuation Sheet for MOR-1
                                 A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.


                                                                      Operating                         Payroll                          Tax                           Other
                                                            #                               #                               #                              #
         BALANCE PER BOOKS


         BANK BALANCE
         (+) DEPOSITS IN TRANSIT (ATTACH LIST)
         (-) OUTSTANDING CHECKS (ATTACH LIST)
         OTHER (ATTACH EXPLANATION)
         ADJUSTED BANK BALANCE *
         * Adjusted bank balance must equal
           balance per books


         DEPOSITS IN TRANSIT                                     Date          Amount            Date         Amount            Date           Amount           Date       Amount




         CHECKS OUTSTANDING                                      Ck. #         Amount           Ch. #         Amount            Ck. #          Amount          Ck. #       Amount




         OTHER




         Footnote:
         * “HMOB of Miramar Owner, LLC” maintains no separate individual bank accounts.
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In re: HMOB of Miramar Owner, LLC                                                                                                                                                                                                         Case No. 20-12543
Debtor                                                                                                                                                                                                         Reporting Period: June 1, 2021 - June 30, 2021


                                                                                              SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                                                                      This schedule is to include all retained professional payments from case inception to current month.

                                                                                                                                                                              Check              Amount Paid                  Year-To-Date
                         Payee                                               Period Covered                      Amount Approved                Payor                     Number    Date     Fees       Expenses          Fees          Expenses
     McManimon, Scotland & Baumann, LLC                                   2/13/2020 - 9/30/2020                              341,634 Retainer applied                                         208,674        10,097          208,674          10,097
     McManimon, Scotland & Baumann, LLC                                   2/13/2020 - 9/30/2020                                    0 Sale of Wayne Property                                   100,000             0          100,000               0
     Eisneramper                                                                5/31/2020                                     49,186 Sale of Wayne Property                                    25,000             0            25,000              0
                                                                                                                                                                                                                             333,674          10,097




     1
         A retainer of $214,408.90 was paid to MSB on behalf of the Debtor and the 25 related Bankruptcies
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                                                                            DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                                          Case No. 20-12543
Debtor                                                                                                                                          Reporting Period: June 1, 2021 - June 30, 2021


                                                                         STATEMENT OF OPERATIONS
                                                                                    (Income Statement)

                           The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
                           realized and expenses when they are incurred, regardless of when cash is actually received or paid.

                                                                                                                                              Cumulative
                           REVENUES                                                                          Month                           Filing to Date
                           Gross Revenues                                                                    $                          $
                           Less: Returns and Allowances
                           Net Revenue                                                                       $                          $
                           COST OF GOODS SOLD
                           Beginning Inventory
                           Add: Purchases
                           Add: Cost of Labor
                           Add: Other Costs (attach schedule)
                           Less: Ending Inventory
                           Cost of Goods Sold
                           Gross Profit
                           OPERATING EXPENSES
                           Advertising
                           Auto and Truck Expense
                           Bad Debts
                           Contributions
                           Employee Benefits Programs
                           Insider Compensation*
                           Insurance
                           Management Fees/Bonuses
                           Office Expense
                           Pension & Profit-Sharing Plans
                           Repairs and Maintenance
                           Rent and Lease Expense
                           Salaries/Commissions/Fees
                           Supplies
                           Taxes - Payroll
                           Taxes - Real Estate
                           Taxes - Other
                           Travel and Entertainment
                           Utilities
                           Other (attach schedule)
                           Total Operating Expenses Before Depreciation
                           Depreciation/Depletion/Amortization
                           Net Profit (Loss) Before Other Income & Expenses
                           OTHER INCOME AND EXPENSES
                           Other Income (attach schedule)
                           Interest Expense
                           Other Expense (attach schedule)
                           Net Profit (Loss) Before Reorganization Items
                           REORGANIZATION ITEMS
                           Professional Fees
                           U. S. Trustee Quarterly Fees
                           Interest Earned on Accumulated Cash from Chapter 11 (see continuation sheet)
                           Gain (Loss) from Sale of Equipment
                           Other Reorganization Expenses (attach schedule)
                           Total Reorganization Expenses
                           Income Taxes
                           Net Profit (Loss)                                                                 $                          $

                           *"Insider" is defined in 11 U.S.C. Section 101(31).

                           Footnotes:
                           * All revenues and expenses related to “HMOB of Miramar Owner, LLC” will be reflected by “Hajjar Office Building of Miramar,
                           LLC”, the corresponding Operating Debtor. Any Cross-Collateralized loan related charges will be reflected by the related Operating
                           Debtors.
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In re: HMOB of Miramar Owner, LLC                                                                                                                                         Case No. 20-12543
Debtor                                                                                                                                         Reporting Period: June 1, 2021 - June 30, 2021



                                                            STATEMENT OF OPERATIONS - continuation sheet


                                                                                                                                            Cumulative
                            BREAKDOWN OF "OTHER" CATEGORY                                           Month                                  Filing to Date

                            Other Costs




                            Other Operational Expenses




                            Other Income




                            Other Expenses




                            Other Reorganization Expenses




                            Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
                            Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
                            bankruptcy proceeding, should be reported as a reorganization item.
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                                                                                                     DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                                                                                       Case No. 20-12543
Debtor                                                                                                                                                                                       Reporting Period: June 1, 2021 - June 30, 2021



                                                                                                         BALANCE SHEET

                 The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from postpetition obligations.

                                                                                                                              BOOK VALUE AT END OF                              BOOK VALUE ON
                                                          ASSETS                                                         CURRENT REPORTING MONTH                                PETITION DATE
                 CURRENT ASSETS
                 Unrestricted Cash and Equivalents
                 Restricted Cash and Cash Equivalents (see continuation sheet)
                 Accounts Receivable (Net)
                 Notes Receivable
                 Inventories
                 Prepaid Expenses
                 Professional Retainers
                 Other Current Assets (attach schedule)
                 TOTAL CURRENT ASSETS                                                                            $                                                  -    $                                               -
                 PROPERTY AND EQUIPMENT
                 Real Property and Improvements                                                                  $                                           3,529,544   $                                        3,529,544
                 Machinery and Equipment
                 Furniture, Fixtures and Office Equipment
                 Leasehold Improvements
                 Vehicles
                 Less Accumulated Depreciation
                 TOTAL PROPERTY & EQUIPMENT                                                                      $                                           3,529,544   $                                        3,529,544
                 OTHER ASSETS
                 Loans to Insiders*
                 Other Assets (attach schedule)
                 TOTAL OTHER ASSETS                                                                              $                                                  -    $                                               -


                 TOTAL ASSETS                                                                                    $                                           3,529,544   $                                        3,529,544


                                                                                                                     BOOK VALUE AT END OF                                       BOOK VALUE ON
                                  LIABILITIES AND OWNER EQUITY                                                   CURRENT REPORTING MONTH                                         PETITION DATE
                 LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
                 Accounts Payable
                 Taxes Payable (refer to FORM MOR-4)
                 Wages Payable
                 Notes Payable
                 Rent / Leases - Building/Equipment
                 Secured Debt / Adequate Protection Payments
                 Professional Fees
                 Amounts Due to Insiders*
                 Other Postpetition Liabilities (attach schedule)
                 TOTAL POSTPETITION LIABILITIES                                                                  $                                                  -    $                                               -
                 LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
                 Secured Debt                                                                                    $                                         81,000,000    $                                       81,000,000
                 Contra Debt Account (Sale of Wayne Property)*                                                   $                                        (11,395,033) $                                                 -
                 Priority Debt
                 Unsecured Debt
                 TOTAL PRE-PETITION LIABILITIES                                                                  $                                         69,604,967    $                                       81,000,000


                 TOTAL LIABILITIES                                                                               $                                         69,604,967    $                                       81,000,000
                 OWNER EQUITY
                 Capital Stock
                 Additional Paid-In Capital
                 Partners' Capital Account
                 Owner's Equity Account
                 Retained Earnings - Pre-Petition                                                                $                                        (77,470,456) $                                        (77,470,456)
                 Retained Earnings - Postpetition                                                                $                                         11,395,033
                 Adjustments to Owner Equity (attach schedule)
                 Postpetition Contributions (Distributions) (Draws) (attach schedule)
                 NET OWNER EQUITY                                                                                $                                        (66,075,423) $                                        (77,470,456)


                 TOTAL LIABILITIES AND OWNERS' EQUITY                                                            $                                           3,529,544   $                                        3,529,544

                 *"Insider" is defined in 11 U.S.C. Section 101(31).

                 Footnotes:
                 * "HMOB of Miramar Owner, LLC" (the “Debtor”) and twenty five other Hajjar related entities (the Debtors”) filed for bankruptcy on February 13 and February 14, 2020. The Debtors have been
                 allocated into two Debtors groups, the Owner Debtors and the Operating Debtors. “HMOB of Miramar Owner, LLC” is considered one of the Owner Debtors.
                 * “HMOB of Miramar Owner, LLC” maintains no separate individual bank accounts.
                 * The Schedules of Assets and Liabilities and Statement of Financial Affairs filed by the Debtor reflected the appraised value of the real property owned by the Debtor at the petition date and a Cross-
                 Collateralized loan related to the Debtors of $81,000,000. For all the Owner Debtors the total amount of the collateralized loan will be reflected on each of the Owner Debtors’ operating reports. At the
                 point in time a property is sold the Debtors and the Lender will agreed upon an allocation of the loan to the specific Debtors. Additionally, the value of the property and improvements above is the cost
                 amount less accumulated depreciation at the petition date. The accumulated depreciation from the petition date through June 30, 2021 was $239,718. Previous operating reports listed the appraised value
                 from the Statement of Financial Affairs filed by the Debtor. Further, at a point in time a property is sold, the Debtor will perform an update of accumulated depreciation for tax purposes. The difference
                 between the Debtors assets and liabilities at the petition date will be reflected as Retained Earnings – Pre-Petition.

                 * All revenues and expenses related to “HMOB of Miramar Owner, LLC” will be reflected by “Hajjar Office Building of Miramar, LLC”, the corresponding Operating Debtor. Any Cross-Collateralized
                 loan related charges will be reflected by the related Operating Debtors.
                 * The Debtor maintains no employees.
                 * Additionally, there is a Mezzanine Loan of $10,000,000 outstanding to Natixis Real Estate Capital, LLC. This loan does not encumber any of the Debtors.
                 * During the month of September, the Debtor sold the Wayne property resulting in a payment of approximately $11,395,000 to Wilmington Trust, the holder of the secured note payable. The total debt of
                 $81 Million noted above is a cross-collateralized loan related to all of the Debtors, therefore a contra debt account is shown, equaling the total payment from the sale of the Wayne property which will
                 offset the debt. At a time when a reconciliation is received from the Secured Note Holder, indicating the amount that is being applied toward interest and other related expenses and toward the principal
                 loan balance the operating reports will be updated.
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                                                                        DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                              Case No. 20-12543
Debtor                                                                                                                              Reporting Period: June 1, 2021 - June 30, 2021




                                                              BALANCE SHEET - continuation sheet


                                                                                            BOOK VALUE AT END OF                       BOOK VALUE ON
                                            ASSETS                                       CURRENT REPORTING MONTH                        PETITION DATE
            Other Current Assets




            Other Assets




                                                                                            BOOK VALUE AT END OF                       BOOK VALUE ON
                          LIABILITIES AND OWNER EQUITY                                   CURRENT REPORTING MONTH                        PETITION DATE
            Other Postpetition Liabilities




            Adjustments to Owner Equity




            Postpetition Contributions (Distributions) (Draws)




            Restricted Cash is cash that is restricted for a specific use and not available to fund operations. Typically, restricted cash is segregated
            into a separate account, such as an escrow account.
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                                                                                DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                                                    Case No. 20-12543
Debtor                                                                                                                                                    Reporting Period: June 1, 2021 - June 30, 2021


                                                                           STATUS OF POSTPETITION TAXES

                     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the amount should be zero.
                     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
                     Attach photocopies of any tax returns filed during the reporting period.

                                                                           Beginning         Amount                                                                   Ending
                                                                              Tax           Withheld or         Amount              Date           Check No.            Tax
                                                                            Liability        Accrued             Paid               Paid            or EFT            Liability
                     Federal
                     Withholding
                     FICA-Employee
                     FICA-Employer
                     Unemployment
                     Income
                     Other:_________________
                       Total Federal Taxes
                     State and Local
                     Withholding
                     Sales
                     Excise
                     Unemployment
                     Real Property
                     Personal Property
                     Other:_________________
                       Total State and Local
                     Total Taxes



                                                                 SUMMARY OF UNPAID POSTPETITION DEBTS

                     Attach aged listing of accounts payable.

                                                                                                               Number of Days Past Due
                                                                        Current           0-30              31-60         61-90                 Over 90            Total
                     Accounts Payable
                     Wages Payable
                     Taxes Payable
                     Rent/Leases-Building
                     Rent/Leases-Equipment
                     Secured Debt/Adequate Protection Payments
                     Professional Fees
                     Amounts Due to Insiders*
                     Other:__________________________
                     Other:__________________________
                     Total Postpetition Debts

                     Explain how and when the Debtor intends to pay any past-due postpetition debts.


                     *"Insider" is defined in 11 U.S.C. Section 101(31).

                     Footnotes:
                     * The Debtor maintains no employees.
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                                                                       UNITED STATES BANKRUPTCY COURT
                                                                            DISTRICT OF NEW JERSEY
In re: HMOB of Miramar Owner, LLC                                                                                                                                    Case No. 20-12543
Debtor                                                                                                                                    Reporting Period: June 1, 2021 - June 30, 2021


                                                  ACCOUNTS RECEIVABLE RECONCILIATION AND AGING


                    Accounts Receivable Reconciliation                                                                             Amount
                    Total Accounts Receivable at the beginning of the reporting period
                    + Amounts billed during the period
                    - Amounts collected during the period                                                                                   N/A1
                    Total Accounts Receivable at the end of the reporting period

                    Accounts Receivable Aging                                                                                      Amount
                    0 - 30 days old
                    31 - 60 days old
                    61 - 90 days old
                    91+ days old                                                                                                            N/A1
                    Total Accounts Receivable
                    Amount considered uncollectible (Bad Debt)
                    Accounts Receivable (Net)

                                                                         DEBTOR QUESTIONNAIRE

                    Must be completed each month                                                                                   Yes                 No
                    1. Have any assets been sold or transferred outside the normal course of business
                                                                                                                                                        X
                       this reporting period? If yes, provide an explanation below.
                    2. Have any funds been disbursed from any account other than a debtor in possession                                         1
                                                                                                                                            N/A
                       account this reporting period? If yes, provide an explanation below.
                    3. Have all postpetition tax returns been timely filed? If no, provide an explanation
                                                                                                                                            N/A1
                       below.
                    4. Are workers compensation, general liability and other necessary insurance
                                                                                                                                            N/A1
                       coverages in effect? If no, provide an explanation below.
                    5. Has any bank account been opened during the reporting period? If yes, provide
                       documentation identifying the opened account(s). If an investment account has been opened                            N/A1
                       provide the required documentation pursuant to the Delaware Local Rule 4001-3.

                    Footnotes:
                    1
                     All revenues and expenses related to “HMOB of Miramar Owner, LLC” will be reflected by “Hajjar Office Building of Miramar, LLC”, the
                    corresponding Operating Debtor. Any Cross-Collateralized loan related charges will be reflected by the related Operating Debtors.
